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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

 IN RE: ZANTAC (RANITIDINE)                                                          MDL NO 2924
 PRODUCTS LIABILITY                                                                   20-MD-2924
 LITIGATION
                                                          JUDGE ROBIN L ROSENBERG
                                                  MAGISTRATE JUDGE BRUCE REINHART
                                             /

 THIS DOCUMENT RELATES TO:                                    JURY TRIAL DEMANDED
 MICHAEL HOPKINS AND
 PATRICIA HOPKINS
 (Plaintiff Name(s))

                            SHORT-FORM COMPLAINT – VERSION 2

        The Plaintiff(s) named below, by counsel, file(s) this Short Form Complaint against

 Defendants named below. Plaintiff(s) incorporate(s) by reference the allegations contained in the

 Amended Master Personal Injury Complaint (“AMPIC”) in In re: Zantac (Ranitidine) Products

 Lability Litigation, MDL No. 2924 (S.D. Fla). Plaintiff(s) file(s) this Short-Form Complaint –

 Version 2 as permitted by Pretrial Order No. 31 and as modified by the Court’s Orders regarding

 motions to dismiss [DE 2532, 2512, 2513, 2515, and 2016].

        Plaintiff(s) select(s) and indicate(s) by completing where requested, the Parties and Causes

 of Actions specific to this case. Where certain claims require additional pleading or case specific

 facts and individual information, Plaintiff(s) shall add and include them herein.

        Plaintiff(s), by counsel, allege as follows:

                       I.      PARTIES, JURISDICTION, AND VENUE

    A. PLAINTIFF(S)

        1.      Plaintiff MR. MICHAEL HOPKINS and MS. PATRICIA HOPKINS
                (“Plaintiff(s)”) brings this action (check theapplicable designation):

                                On behalf of [himself/herself];




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                               In representative capacity as the                       , on behalf
                               of     the     injured    party, (Injured Party’s Name)
                                                      .

        2.      Injured   Party   is   currently    a    resident   and   citizen   of     (City,   State)

                PHILADELPHIA, PA and claims damages as set forth below.

                                                         —OR—

                Decedent died on (Month, Day, Year)                      .               At the time of
                Decedent’s death, Decedent was a resident and citizen of                                  .

 If any party claims loss of consortium,

        3.      MS. PATRICIA HOPKINS (“Consortium Plaintiff”) alleges damages for loss of
                consortium.

        4.      At the time of the filing of this Short Form Complaint, Consortium Plaintiff is a
                citizen and resident of (City, State) PHILADELPHIA, PA.

        5.      At the time the alleged injury occurred, Consortium Plaintiff resided in (City, State)
                PHILADELPHIA, PA.

    B. DEFENDANT(S)

        4.      Plaintiff(s) name(s) the following Defendants from the Amended Master Personal
                Injury Complaint in this action:

               a. Brand-Name Manufacturers:

                  1. BOEHRINGER INGELHEIM
                  2. SANOFI
                  3. GLAXOSMITHKLINE
                  4. PFIZER
                  Plaintiffs specifically reserve the right to supplement and/or amend this section
                  of the Complaint based upon additional information, documents or discovery.

               b. Generic Manufacturers:

               c. Distributors and Repackager:

               d. Retailers:

                  1. CVS PHARMACY, INC.
                  Plaintiffs specifically reserve the right to supplement and/or amend this section
                  of the Complaint based upon additional information, documents or discovery.

               e. Others Not Named in the AMPIC:

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    C. JURISDICTION AND VENUE

       5.    Identify the Federal District Court in which Plaintiff(s) would have filed this action
             in the absence of Pretrial Order No. 11 (direct filing) [or, if applicable, the District
             Court to which their original action was removed]:

             Eastern District of Pennsylvania.

       6.    Jurisdiction is proper upon diversity of citizenship.



                                   II.      PRODUCT USE


       7.    The Injured Party used Zantac and/or generic ranitidine: [Check all that apply]

                            By prescription

                            Over the counter

       8.    The Injured Party used Zantac and/or generic ranitidine from approximately
             (month, year) January 2004 to January 2011 .


                                III.      PHYSICAL INJURY


       9.    As a result of the Injured Party’s use of the medications specified above, [he/she]
             was diagnosed with the following specific type of cancer (check all that apply):

       Check all                                                           Approximate
         that                            Cancer Type                         Date of
        apply                                                               Diagnosis
                   BLADDER CANCER
                   BREAST CANCER
                   COLORECTAL/INTESTINAL CANCER                                JUNE 6, 2010
                   ESOPHAGEAL CANCER
                   GASTRIC CANCER
                   KIDNEY CANCER
                   LIVER CANCER
                   LUNG CANCER
                   PANCREATIC CANCER
                   PROSTATE CANCER                                             JULY 1, 2020
                   OTHER CANCER:
                   DEATH (CAUSED BY CANCER)




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         10.     Defendants, by their actions or inactions, proximately caused the injuries to
                 Plaintiff(s).


                            IV.     CAUSES OF ACTION ASSERTED

         11.     The following Causes of Action asserted in the Amended Master Personal Injury
                 Complaint are asserted against the specified defendants in each class of Defendants
                 enumerated therein, and the allegations with regard thereto are adopted in this Short
                 Form Complaint by reference.

         12.     By checking the appropriate causes of action below, Plaintiff(s) assert these causes
                 of action based upon the law and applicable Sub-Counts of the following state(s):1




                                                                                   States for which
    Check
                                                                                  the cause of action
    all that   Count                       Cause of Action
                                                                                    was asserted in
     apply
                                                                                      the AMPIC
                                                                                  All States and
                         Strict Products Liability – Failure to Warn through
                                                                                  Territories, Except
                  I      Warnings and Precautions (Against Brand-Name
                                                                                  DE, IA, MA, NC,
                         Manufacturer Defendants)
                                                                                  PA, and VA
                                                                                  All States and
                         Negligence – Failure to Warn through Warnings
                                                                                  Territories, Except
                  II     and Precautions (Against Brand-Name
                                                                                  LA, NJ, OH, and
                         Manufacturer Defendants)
                                                                                  WA
                                                                                  All States and
                         Strict Products Liability – Failure to Warn through
                                                                                  Territories, Except
                 III     Proper Expiration Dates (Against Brand-Name and
                                                                                  DE, IA, MA, NC,
                         Generic Manufacturer Defendants)
                                                                                  PA, and VA
                                                                                  All States and
                         Negligence – Failure to Warn through Proper
                                                                                  Territories, Except
                 IV      Expiration Dates (Against Brand-Name and
                                                                                  LA, NJ, OH, OK,
                         Generic Manufacturer Defendants)
                                                                                  and WA
                                                                                  CA, DE, DC, HI,
                         Negligence - Failure to Warn Consumers through           IN, KY, LA, MD,
                  V      the FDA (Against Brand-Name and Generic                  MA, MN, MO,
                         Manufacturer Defendants)                                 NV, NY, OR, and
                                                                                  PA
                         Strict Products Liability – Design Defect Due to
                                                                                  All States and
                 VI      Warnings and Precautions (Against Brand-Name
                                                                                  Territories, Except
                         Manufacturer Defendants)
1
  In selecting the relevant states above, Plaintiffs reserve all rights to argue choice of law issues ata
later time.


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                                                                                   States for which
    Check
                                                                                  the cause of action
    all that   Count                       Cause of Action
                                                                                    was asserted in
     apply
                                                                                      the AMPIC
                                                                                  DE, IA, MA, NC,
                                                                                  PA, and VA
                                                                                  All States and
                        Strict Products Liability – Design Defect Due to
                                                                                  Territories, Except
                VII     Improper Expiration Dates (Against Brand-Name
                                                                                  DE, IA, MA, NC,
                        and Generic Manufacturer Defendants)
                                                                                  PA, and VA
                        Negligent Failure to Test (Against Brand-Name
               VIII                                                               KS, TX
                        and Generic Manufacturer Defendants)
                        Negligent Product Containers: (Against Brand-             All States and
                IX
                        Name and Generic Manufacturers of pills)                  Territories
                        Negligent Storage and Transportation Outside the
                                                                                  All States and
                 X      Labeled Range (Against All Retailer and
                                                                                  Territories
                        Distributor Defendants)
                        Negligent Storage and Transportation Outside the
                                                                                  All States and
                XI      Labeled Range (Against All Brand-Name and
                                                                                  Territories
                        Generic Manufacturer Defendants)
                        Negligent Misrepresentation (Against Brand-Name
                XII     Manufacturers by Generic Consumers in                     CA only
                        California)
                        Reckless Misrepresentation (Against Brand-Name
               XIII     Manufacturers by Generic Consumers in                     MA only
                        Massachusetts)
                                                                                  All States and
               XIV      Unjust Enrichment (Against All Defendants)
                                                                                  Territories
                                                                                  All States and
                XV      Loss of Consortium (Against All Defendants)
                                                                                  Territories
                                                                                  All States and
               XVI      Wrongful Death (Against All Defendants)
                                                                                  Territories

                If Count XV or Count XVI is alleged, additional facts supporting the claim(s):

                Wife, Patricia Hopkins was cause to suffer loss in connection with conjugal fellowship,
                company, society, cooperation, affection, and support offered to her by her husband as a
                result of his developments of Colon and Prostate Cancers caused by ingesting Zantac.

                                          V.      JURY DEMAND

        13.    Plaintiff(s) hereby demand(s) a trial by jury as to all claims in this action.




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                                    VI.    PRAYER FOR RELIEF

        WHEREFORE, Plaintiff(s) has/have been damaged as a result of Defendants’ actions or

 inactions and demand(s) judgment against Defendants on each of the above-referenced causes of

 action, jointly and severally to the full extent available in law or equity, as requested in the

 Amended Master Personal Injury Complaint.



                                    Respectfully submitted,


                             By:    /s/ Steven F. Marino
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                                    PA Attorney I.D. No. 53034
                                    Joseph Auddino, Esquire
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                                    Attorneys for Plaintiffs

Dated: October 18, 2021




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